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                       Case
 AO 106A (08/18) Application for a8:22-mj-01932-TJS               Document
                                   Warrant by Telephone or Other Reliable Electronic 2   Filed
                                                                                     Means       07/26/22 Page 1 of 1

                                      UNITED STATES DISTRICT COURT
                                                                                                                         Jul 26, 2022
                                                                    for the
                                                           DistrictDistrict
                                                      __________    of Maryland
                                                                            of __________
                                                                                                                                       MD
               In the Matter of the Search of                                )
          (Briefly describe the property to be searched                      )
           or identify the person by name and address)                       )          Case No.       22-mj-1932-TJS
   INFORMATION ASSOCIATED WITH THE REDDIT                                    )
    ACCOUNTS IDENTIFIED IN ATTACHMENT A-3                                    )
                                                                             )

     APPLICATION FOR A WARRANT BY TELEPHONE OR OTHER RELIABLE ELECTRONIC MEANS
         I, a federal law enforcement officer or an attorney for the government, request a search warrant and state under
 penalty of perjury that I have reason to believe that on the following person or property (identify the person or describe the
 property to be searched and give its location):
  See Attachment A-3.

 located in the             Northern               District of               California                 , there is now concealed (identify the
 person or describe the property to be seized):
  See Attachment B-3.


           The basis for the search under Fed. R. Crim. P. 41(c) is (check one or more):
                ✔ evidence of a crime;
                u
                ✔ contraband, fruits of crime, or other items illegally possessed;
                u
                  ✔ property designed for use, intended for use, or used in committing a crime;
                  u
                  u a person to be arrested or a person who is unlawfully restrained.
           The search is related to a violation of:
              Code Section                                                             Offense Description
         18 U.S.C. § 115(a)(1)(B)                  Threatening to Murder a United States Judge
         18 U.S.C § 351(c)                         Attempt to Assassinate Justice of United States

           The application is based on these facts:
         See attached Affidavit.

            ✔ Continued on the attached sheet.
            u
            u Delayed notice of        days (give exact ending date if more than 30 days:                                    ) is   requested under
              18 U.S.C. § 3103a, the basis of which is set forth on the attached   d sheet.


                                                                                                       Applicant’s signature
                                                                                                                   signatu

                                                                                                 Ian Montijo, Special Agent, FBI
                                                                                                         Printed name and title

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 Date:       June 21, 2022
                                                                                                         Judge’s signature

 City and state: Greenbelt, Maryland                                             Hon. Timothy J. Sullivan, United States Magistrate Judge
                                                                                                       Printed name and title
